                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                center10985500
                                 July 27, 2016
                              No. 10-13-00109-CR
                           MICHAEL ANTHONY McGRUDER
                                      v.
                              THE STATE OF TEXAS
                                       
                                center-4254500
                        From the 85[th] District Court
                             Brazos County, Texas
                        Trial Court No. 11-05822-CRF-85
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issues raised and finds no reversible error is presented.  Accordingly the trial court's judgment entered on March 22, 2013 is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			
3040380-1206500
						By: ___________________________
							Nita Whitener, Deputy Clerk

